                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 WENDY SNEAD and EDWARD                          )
 MOREDOCK, individually and on                   )
 behalf of all others similarly situated,        )
                                                 )
          Plaintiffs,                            )
                                                 )
 v.                                              )   Civil Action No. 3:17-cv-00949
                                                 )   (Consolidated with 3:17-cv-00958)
 CORECIVIC OF TENNESSEE, LLC                     )   Judge Aleta A. Trauger
 f/k/a CORRECTIONS CORPORATION                   )
 OF AMERICA,                                     )
                                                 )
        Defendant.                               )


      ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT


         This matter came before the Court on November 18, 2021, for a Fairness Hearing to

consider final approval of the Settlement Agreement and Release (DE 126-1) (the “Settlement”)

entered into between Plaintiffs Wendy Snead and Edward Mordock, individually and on behalf of

members of the Class as defined by the Court (DE 37) (the “Class”), and Defendant CoreCivic of

Tennessee, LLC (“CoreCivic”). Upon consideration of the Joint Motion for Preliminary Approval

of Class Action Settlement, the supporting Memorandum of Law, statements of counsel for the

parties at the fairness hearing, and no objections having been filed to the Settlement, the Court

hereby finds and ORDERS as follows:

         1.     The Settlement is reasonable, fair, and adequate and in the best interests of the

Class, and the same is hereby approved in all respects and shall be binding upon each member of

the Class.




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         2.     Per the Settlement, CoreCivic shall pay to Plaintiffs the total sum of $150,000.00,

inclusive of attorneys’ fees (the “Settlement Amount”), plus out-of-pocket expenses (“expenses”)

of Plaintiffs’ counsel in the amount of $9,587.50.

         2.     Class counsel shall receive a fee of 40% of the Settlement Amount exclusive of

expenses, or $60,000.00. Due to the risks in this case and the degree of work involved, the named

Plaintiffs agreed to a 40% contingent fee prior to filing this action which the Court finds is

reasonable given that the hourly rate charge would have substantially exceeded that sum were the

case tried and an application filed, and given that Class counsel advanced all expenses and assumed

the risk of loss and remained unpaid for approximately four (4) years. Other than the payment of

the Settlement Amount and the expenses of Plaintiffs’ counsel in the amount of $9,587.50,

CoreCivic shall have no other responsibility to make payment to Plaintiffs or their counsel in

settlement of this matter.

         3.     The Settlement Amount of $150,000.00 and the expenses of Plaintiffs’ counsel in

the amount of $9,587.25 shall be paid by CoreCivic to the Blackburn Firm, PLLC IOLTA account.

Plaintiffs’ counsel shall pay from the funds deposited into its IOLTA account the following sums:

         a. $5,000.00 to Class Representatives Wendy Snead and Edward Moredock, split equally
            ($2,500.00 each), as an incentive award in consideration of their work with Plaintiffs’
            counsel, willingness to serves as Class Representatives, and the burden of being
            deposed and required to engage in written discovery in this matter;

         b. $60,000 to The Blackburn Firm, PLLC as attorneys’ fees;

         c. $9,587.50 to The Blackburn Firm, PLLC for expenses; and

         d. the remaining funds from the Settlement Amount, after deductions for the amounts set
            forth in paragraphs a-c, shall be divided equally and tendered to the nineteen (19) class
            members who filed claims in accordance with the Notice of Settlement, and the two (2)
            Class Representatives.




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         4.    This matter is hereby dismissed with prejudice, but the Court reserves jurisdiction

as to all matters relating to the administration, consummation, enforcement, and interpretation of

the terms of the Settlement.


                                                    ____________________________________
                                                    ALETA A. TRAUGER
                                                    UNITED STATES DISTRICT JUDGE



APPROVED FOR ENTRY:

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                                CERTIFICATE OF SERVICE

        I certify that a true and exact copy of the foregoing has been served upon Filing Users via
the electronic filing system and on other counsel via U. S. Mail, first-class postage prepaid, this
November 30, 2021, on the following:

 W. Gary Blackburn                                  Jeffery S. Roberts
 Bryant Kroll                                       Jeff Rogers & Associates, PLLC
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                                                             /s/ Joseph F. Welborn, III




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